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8                          UNITED STATES DISTRICT COURT
9                         EASTERN DISTRICT OF CALIFORNIA
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11   GARY PALMER,                        No. 2:05-cv-1935-MCE-GGH
12                Plaintiff,
13          v.                           ORDER RE: SETTLEMENT AND
                                         DISPOSITION
14   CHELSEA FINANCING
     PARTNERSHIP, LP, ET AL.,
15
               Defendants.
16   ___________________________/
17          Pursuant to the representations of the attorneys for
18   Defendants, the Court has determined that this case is settled as
19   to the following Defendants only: BEAR CREEK STORES, INC. dba
20   HARRY AND DAVID, PHILLIPS-VAN HEUSEN CORPORATION dba GEOFFREY
21   BEENE #18, PHILLIPS-VAN HEUSEN CORPORATION dba VAN HEUSEN #235,
22   PVH CK STORES, INC. dba CALVIN KLEIN and THE IZOD CORPORATION dba
23   IZOD #727.
24          In accordance with the provisions of Local Rule 16-160,
25   dispositional documents are to be filed on or before January 31,
26   2006.
27   ///
28   ///
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1         Failure to comply with this order may be grounds for the
2    imposition of sanctions on any and all counsel as well as any
3    party or parties who cause non-compliance with this order.
4    IT IS SO ORDERED.
5    DATED: December 30, 2005
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8                                     _____________________________
                                      MORRISON C. ENGLAND, JR
9                                     UNITED STATES DISTRICT JUDGE
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